Case: 24-10134           Document: 40-1        Page: 1      Date Filed: 08/23/2024




          United States Court of Appeals
               for the Fifth Circuit
                                  ____________
                                                                           United States Court of Appeals
                                                                                    Fifth Circuit
                                   No. 24-10134
                                 Summary Calendar                                 FILED
                                 ____________                               August 23, 2024
                                                                             Lyle W. Cayce
United States of America,                                                         Clerk

                                                                  Plaintiff—Appellee,

                                         versus

Santiago Parks Howard-Rios,

                                           Defendant—Appellant.
                  ______________________________

                  Appeal from the United States District Court
                      for the Northern District of Texas
                            USDC No. 2:23-CR-3-1
                  ______________________________

Before Davis, Smith, and Higginson, Circuit Judges.
Per Curiam: *
      Santiago Parks Howard-Rios appeals his sentence for illegal reentry
under 8 U.S.C. § 1326(a) and (b)(1), arguing that the enhancement of his
sentence under § 1326(b) is unconstitutional because it is based on facts not
alleged in the indictment and either admitted or proved beyond a reasonable
doubt. He concedes this argument is foreclosed by Almendarez-Torres v.

       _____________________
      *
          This opinion is not designated for publication. See 5th Cir. R. 47.5.
 Case: 24-10134         Document: 40-1     Page: 2    Date Filed: 08/23/2024




United States, 523 U.S. 224 (1998), but explains that he wishes to preserve it
for further review. The Government has filed an unopposed motion for
summary affirmance or, alternatively, for an extension of time in which to file
a brief.
           Because Howard-Rios is correct that his argument is foreclosed, see
United States v. Pervis, 937 F.3d 546, 553-54 (5th Cir. 2019), summary
affirmance is appropriate, see Groendyke Transp., Inc. v. Davis, 406 F.2d 1158,
1162 (5th Cir. 1969). Accordingly, the Government’s motion for summary
affirmance is GRANTED, its alternative motion for an extension of time is
DENIED, and the judgment of the district court is AFFIRMED.
